Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 1 of 48




             EXHIBIT 2
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 2 of 48



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 6

 7

 8                               UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

10                                        OAKLAND DIVISION

11   EPIC GAMES, INC. v. APPLE INC.                      Case Nos.        4:20-CV-05640-YGR
                                                                          4:19-CV-03074-YGR
12   CAMERON ET AL. v. APPLE INC.                                         4:11-CV-06714-YGR
13   IN RE APPLE IPHONE ANTITRUST                        NON-PARTY VALVE CORPORATION’S
     LITIGATION                                          RESPONSE AND OBJECTION TO
14                                                       SUBPOENA TO PRODUCE
                                                         DOCUMENTS, INFORMATION, OR
15                                                       OBJECTS OR TO PERMIT INSPECTION
                                                         OF PREMISES IN A CIVIL ACTION
16                                                       ISSUED BY APPLE INC.
17

18
             Pursuant to Federal Rule of Civil Procedure 45(d)(2)(B), Valve Corporation (“Valve”)
19
     objects to the production, inspection, or copying of the documents and materials designated in
20
     the subpoena served by Defendant Apple Inc. (the “Subpoena”). Valve’s objections to the
21
     Subpoena include, but are not necessarily limited to, the following:
22
                                         GENERAL OBJECTIONS
23
             1.     Valve objects to the Subpoena’s instructions and definitions to the extent they
24
     exceed the scope of appropriate third-party discovery under the Federal Rules of Civil Procedure,
25
     and render the requests vague and ambiguous, overbroad, harassing and unduly burdensome.
26
             2.     Valve objects to the Subpoena to the extent it seeks the production of materials
27
     that are in the possession, custody, or control of parties or persons other than Valve, and to the
28
     extent the requested materials are equally or more readily available through party discovery

                                                      -1-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 3 of 48



 1   without imposing burden on a third party. Many of the documents sought by the Subpoena are
 2   available from Apple Inc., Epic Games, Inc., Lawrence Plaintiffs and/or Cameron Plaintiffs
 3   (collectively, “Parties”) and are more properly obtained from the Parties to the captioned actions.
 4   There is no apparent need to discover these materials from non-party Valve, or a justification for
 5   imposing burden on a third party when the materials are available through party discovery. E.g.,
 6   Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189 (4th Cir. 2019) (“Bystanders should not be
 7   drawn into the parties’ dispute without some good reason. . . . For example, a party’s email
 8   provider might well possess emails that would be discoverable from the party herself. But unless
 9   the email provider can offer important information that cannot be obtained from the party
10   directly, there would be no cause for a subpoena against the provider.”), cert. denied, 140 S. Ct.
11   672 (2019); Haworth, Inc. v. Herman Miller, Inc., 998 F.2d 975, 978 (Fed. Cir. 1993) (affirming
12   district court’s order requiring defendant “to seek discovery from its party opponent before
13   burdening the nonparty”); Nidec Corp. v. Victor Co. of Japan, 249 F.R.D. 575, 577 (N.D. Cal.
14   2007) (“There is simply no reason to burden nonparties when the documents sought are in
15   possession of the party defendant.”).
16           3.     Valve objects to the Subpoena to the extent it seeks the production of materials
17   that are publicly available, e.g., on Steam or www.partner.steamgames.com. The Subpoena
18   imposes an undue burden on a third party when the materials are otherwise available directly to
19   Apple Inc.
20           4.     Valve objects to the Subpoena on the grounds that its requests are overbroad as to
21   time and subject matter and would require Valve to conduct a time consuming and unduly
22   burdensome search, which will cause Valve to incur significant expense and disruption. The
23   Subpoena fails to compensate Valve for the time and expense required to respond to the overly
24   broad and burdensome document requests.
25           5.     Valve objects to the Subpoena to the extent it seeks production of documents
26   protected by the attorney-client privilege, the work product doctrine, or any other applicable
27   doctrines or privileges.
28           6.     Valve objects to the Subpoena to the extent it seeks to impose a duty on Valve to


                                                       -2-
                                Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 4 of 48



 1   create reports, analyses or compile information that Valve does not create, compile or keep in
 2   immediately accessible format in the ordinary course of its business. Valve further objects to the
 3   Subpoena to the extent it seeks to require Valve to provide any information beyond what is
 4   available to Valve at the present time from a reasonable search of its own records and a
 5   reasonable inquiry of its present employees, including information that is not within Valve’s
 6   possession, custody, or control.
 7           7.     Valve objects to the Subpoena to the extent it calls for the production of
 8   documents that contain trade secrets or other highly confidential and proprietary research,
 9   development, or commercial or financial information, or to the extent that the documents sought
10   by the Subpoena are subject to confidentiality agreements or obligations with others. Documents
11   sought by the Subpoena are confidential, including many that are highly confidential and should
12   be limited to outside attorneys’ eyes only.
13           8.     Valve objects to the Subpoena’s definitions of PERSON, YOU, and YOUR
14   insofar as they include “attorneys” and would require responses from or production of
15   documents by Valve’s attorneys. Valve objects to producing any communications, information,
16   documents, or other materials within its attorneys’ possession. The definition of YOU and
17   YOUR also includes “predecessor,” “successor,” “agents,” “representatives,” “consultants,”
18   “accountants,” and “corporate affiliates,” which likely includes persons beyond the control of
19   Valve. The definition of PERSON includes “partner,” “corporate parent,” “subsidiary,” and
20   “affiliate” which likely includes persons beyond the control of Valve. Accordingly, and subject
21   to these objections, Valve interprets the terms PERSON, YOU and YOUR in the Subpoena to
22   mean only Valve and its employees.
23           9.     Valve objects to the Subpoena’s definition of COMMUNICATION is vague,
24   ambiguous, overbroad and renders compliance with the Subpoena unduly burdensome,
25   particularly insofar as it purports to require any custodial email searches.
26           10.    Valve objects to the Subpoena’s definition of DOCUMENT and DOCUMENTS
27   is overbroad and renders compliance with the Subpoena unduly burdensome, particularly insofar
28   as it purports to require any custodial email searches.


                                                      -3-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 5 of 48



 1           11.    Valve objects to the Subpoena’s definition of REPORTS, “any final reports,
 2   research, papers, memoranda, presentations, reviews, statistical compilations, or other analyses,”
 3   as overbroad and unduly burdensome. Accordingly, and subject to these objections, Valve
 4   interprets the term REPORTS in the Subpoena to mean final reports, papers, memoranda or
 5   statistical compilations generated as a result of formal analyses undertaken by Valve.
 6           12.    Valve objects to the Subpoena’s definition of STEAM LINK “YOUR APP for
 7   any DEVICE” as unintelligible, vague and ambiguous, overbroad, and unduly burdensome,
 8   particularly because Apple Inc. defines “APP” to include any Valve software.
 9           13.    Valve objects to the Subpoena to the extent that it calls for the search and
10   production of electronically stored information (ESI) that is not reasonably tailored to the needs
11   of the above-captioned actions. In circumstances where ESI is responsive to a particular request,
12   Valve will conduct a reasonable search pursuant to agreed upon or Court ordered parameters.
13           14.    Valve objects to the Subpoena’s instruction no. 2 as it includes DOCUMENTS
14   and information from “YOUR present and former attorneys, investigators, accountants, agents,
15   representatives, or other PERSONS acting on YOUR behalf.” This instruction and the defined
16   terms used therein render the Subpoena impermissibly broad and unduly burdensome, including
17   seeking disclosure of documents and information protected by attorney-client privilege, work
18   product immunity, trade secrets and other doctrines. Based on its objections, Valve will produce
19   responsive materials only from Valve and its employees.
20           15.    Valve objects to the Subpoena’s instruction no. 8 to the extent that it requires
21   information beyond Fed. R. Civ. P. Rule 45(e)(2).
22           16.    Valve objects to the Subpoena’s instruction no. 11 as the relevant time period
23   (2008 to the present) is vastly overbroad, unduly burdensome, harassing and does not take
24   reasonable steps to avoid imposing undue burden and expense on Valve, as required by Fed. R.
25   Civ. P. Rule 45(d)(1).
26           17.    Valve objects to the Subpoena’s instruction no. 12 as it reiterates the definition of
27   PERSON to include “attorneys.” Valve also incorporates its objections to instruction no. 8.
28           18.    Valve objects to the Subpoena’s instruction no. 14 as Rule 26(e) of the Federal


                                                      -4-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 6 of 48



 1   Rules of Civil Procedure does not apply to Valve as it is a non-party.
 2           19.    Valve objects to the Subpoena as overly broad as to scope and unduly
 3   burdensome insofar as it seeks information or materials regarding any operations or activities
 4   outside the United States.
 5           20.    Valve objects to producing documents at the time and place requested by the
 6   propounding party. Valve will make its responsive documents available for inspection or will
 7   produce responsive documents at a time and date to be mutually agreed upon by counsel.
 8           21.    Valve reserves all other objections. Neither Valve’s agreement to produce
 9   documents nor its agreement to search for documents responsive to the Subpoena shall imply
10   that responsive documents exist within its possession, custody or control.
11                                         SPECIFIC OBJECTIONS
12   REQUEST FOR PRODUCTION NO. 1:
13           REPORTS comparing the distribution of APPS through any APP MARKETPLACE,
14   INCLUDING Google Play, the Samsung Galaxy Store, Android Market, DEFENDANT’S iOS
15   and Mac App Stores, the Amazon Appstore, Amazon Underground, the Microsoft Store for
16   Xbox, Windows Store, and Windows Phone Store, the Epic Games Store, Origin, and online
17   storefronts distributing games and digital content for Xbox, PlayStation, and Nintendo, and
18   YOUR APP MARKETPLACE(S), INCLUDING:
19           a.     the past or present benefits or costs of distribution in each APP
20   MARKETPLACE;
21           b.     past or present fees and commission rates charged by each APP
22   MARKETPLACE, INCLUDING how such fees and commission rates affect the attractiveness
23   of any APP MARKETPLACE to APP DEVELOPERS;
24           c.     past or present security or privacy protections offered in each APP
25   MARKETPLACE;
26           d.     past or present APP REVIEW and approval procedures and practices in each APP
27   MARKETPLACE;
28           e.     past or present tools for APP DEVELOPERS in each APP MARKETPLACE;


                                                         -5-
                                  Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 7 of 48



 1           f.     past or present relative ease or difficulty of updating APPS in each APP
 2   MARKETPLACE;
 3           g.     past or present market share calculations or estimates for APP
 4   MARKETPLACES, INCLUDING the definitions used to perform those calculations;
 5           h.     past or present decision to distribute YOUR APPS on a particular APP
 6   MARKETPLACE;
 7           i.     contemplated, planned, or actual distribution of YOUR APPS directly (i.e., not
 8   through an APP MARKETPLACE); and
 9           j.     past or present APP maintenance activities in each APP MARKETPLACE.
10   RESPONSE TO REQUEST FOR PRODUCTION NO. 1:
11           Subject to and in addition to General Objections, Valve objects to Request Nos. 1-3,
12   including their subparts, as overly broad in time and in scope, unduly burdensome and not
13   proportional to the needs of the cases. Valve further objects to these requests as overly broad and
14   unduly burdensome insofar as they would require Valve to create new documents, information,
15   or analyses that are not kept in the ordinary course of business or to provide information in a
16   form other than that kept in the ordinary course of business. Valve further objects to these
17   requests (particularly Request No. 1), as overly broad in scope and unduly burdensome insofar as
18   they seek information regarding Valve “APPS” shipped on Apple devices, which information is
19   already in Apple’s possession, see, e.g., https://apps.apple.com/us/developer/valve/id495369751.
20   Valve also objects to these requests to the extent they seek production of documents that are
21   protected by attorney-client and work product privileges or otherwise not relevant to the claims
22   and defenses at issue in the captioned actions. Valve further objects to these requests insofar as
23   they would call for Valve to produce any source code, which is highly confidential and which
24   Valve declines to do. Moreover, Valve objects to these requests to the extent that many or all of
25   the documents sought contain trade secrets or highly confidential, business, financial,
26   proprietary, or commercially sensitive information, particularly insofar as such information is
27   sought by a potential business competitor. Valve invites the propounding party to meet and
28   confer to identify with specificity the categories of documents it seeks and to narrow the scope of


                                                      -6-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 8 of 48



 1   these requests.
 2   REQUEST FOR PRODUCTION NO. 2:
 3           DOCUMENTS sufficient to show with respect to YOUR APP MARKETPLACE(S):
 4           a.        the total yearly amount remitted to YOU from sales of APPS and IN-APP
 5   PRODUCTS (by APP and method of monetization, if available);
 6           b.        any estimates of or accounting for annual ADVERTISING revenue attributable to
 7   YOUR MARKETPLACE (by APP, if available);
 8           c.        any estimates of or accounting for YOUR annual revenues from sales of
 9   EXTERNAL PRODUCTS attributable to YOUR APP MARKETPLACE (by APP and method
10   of monetization, if available);
11           d.        any estimates of or accounting for annual revenues (other than the foregoing)
12   attributable to YOUR APP MARKETPLACE (by APP and method of monetization, if
13   available); and
14           e.        any estimates of or accounting for annual earnings, income, or profit (whether
15   gross or net) attributable to YOUR APP MARKETPLACE (by APP and method of
16   monetization, if available).
17   RESPONSE TO REQUEST FOR PRODUCTION NO. 2:
18           Subject to and in addition to General Objections, Valve objects to Request Nos. 1-3,
19   including their subparts, as overly broad in time and in scope, unduly burdensome and not
20   proportional to the needs of the cases. Valve further objects to these requests as overly broad and
21   unduly burdensome insofar as they would require Valve to create new documents, information,
22   or analyses that are not kept in the ordinary course of business or to provide information in a
23   form other than that kept in the ordinary course of business. Valve further objects to these
24   requests (particularly Request No. 1), as overly broad in scope and unduly burdensome insofar as
25   they seek information regarding Valve “APPS” shipped on Apple devices, which information is
26   already in Apple’s possession, see, e.g., https://apps.apple.com/us/developer/valve/id495369751.
27   Valve also objects to these requests to the extent they seek production of documents that are
28   protected by attorney-client and work product privileges or otherwise not relevant to the claims


                                                        -7-
                                 Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 9 of 48



 1   and defenses at issue in the captioned actions. Valve further objects to these requests insofar as
 2   they would call for Valve to produce any source code, which is highly confidential and which
 3   Valve declines to do. Moreover, Valve objects to these requests to the extent that many or all of
 4   the documents sought contain trade secrets or highly confidential, business, financial,
 5   proprietary, or commercially sensitive information, particularly insofar as such information is
 6   sought by a potential business competitor. Valve invites the propounding party to meet and
 7   confer to identify with specificity the categories of documents it seeks and to narrow the scope of
 8   these requests.
 9   REQUEST FOR PRODUCTION NO. 3:
10           REPORTS CONCERNING YOUR contemplated, planned, or actual development and/or
11   operation of YOUR APP MARKETPLACE(S), INCLUDING:
12           a.        , YOUR decision-to build each such APP MARKETPLACE;
13           b.        YOUR decision to use a particular revenue model in each such APP
14   MARKETPLACE; and
15           c.        YOUR decision to develop each such APP MARKETPLACE for specific
16   operating systems.
17   RESPONSE TO REQUEST FOR PRODUCTION NO. 3:
18           Subject to and in addition to General Objections, Valve objects to Request Nos. 1-3,
19   including their subparts, as overly broad in time and in scope, unduly burdensome and not
20   proportional to the needs of the cases. Valve further objects to these requests as overly broad and
21   unduly burdensome insofar as they would require Valve to create new documents, information,
22   or analyses that are not kept in the ordinary course of business or to provide information in a
23   form other than that kept in the ordinary course of business. Valve further objects to these
24   requests (particularly Request No. 1), as overly broad in scope and unduly burdensome insofar as
25   they seek information regarding Valve “APPS” shipped on Apple devices, which information is
26   already in Apple’s possession, see, e.g., https://apps.apple.com/us/developer/valve/id495369751.
27   Valve also objects to these requests to the extent they seek production of documents that are
28   protected by attorney-client and work product privileges or otherwise not relevant to the claims


                                                       -8-
                                Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 10 of 48



 1   and defenses at issue in the captioned actions. Valve further objects to these requests insofar as
 2   they would call for Valve to produce any source code, which is highly confidential and which
 3   Valve declines to do. Moreover, Valve objects to these requests to the extent that many or all of
 4   the documents sought contain trade secrets or highly confidential, business, financial,
 5   proprietary, or commercially sensitive information, particularly insofar as such information is
 6   sought by a potential business competitor. Valve invites the propounding party to meet and
 7   confer to identify with specificity the categories of documents it seeks and to narrow the scope of
 8   these requests.
 9   REQUEST FOR PRODUCTION NO. 4:
10           REPORTS CONCERNING comparisons of the number, identity, genre, quality, and/or
11   popularity of APPS available for download from YOUR APP MARKETPLACE(S) and APPS
12   available for download from other APP MARKETPLACE(S) or available on different
13   DEVICES.
14   RESPONSE TO REQUEST FOR PRODUCTION NO. 4:
15           Subject to and in addition to General Objections, Valve objects to this request to the
16   extent it seeks user-specific information or infringe on users’ privacy or personal information
17   and/or invades any right to privacy under any applicable state or federal law or constitutional
18   provision. Valve further objects to this request as massively overbroad and unduly burdensome
19   insofar as it requires Valve to review millions of transactions and data from millions of user
20   accounts. Valve further objects to this request as overly broad and unduly burdensome as
21   phrased, and insofar as it would require Valve to create new documents, information, or analyses
22   that are not kept in the ordinary course of business or to provide information in a form other than
23   that kept in the ordinary course of business. Valve also objects to this request as unduly
24   burdensome insofar as they seek information that is publicly available. Valve further objects to
25   this request as overly broad in scope and unduly burdensome insofar as they seek information
26   regarding Valve “APPS” shipped on Apple devices, which information is already in Apple’s
27   possession, see, e.g., https://apps.apple.com/us/developer/valve/id495369751. Valve also objects
28   to this request to the extent it seeks production of documents that are not relevant to the claims


                                                      -9-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 11 of 48



 1   and defenses at issue in the captioned actions and are not proportional to the needs of the cases.
 2   Moreover, Valve objects to this request to the extent that many or all of the documents sought
 3   contain trade secrets or highly confidential, business, financial, proprietary, or commercially
 4   sensitive information, particularly insofar as such information is sought by a potential business
 5   competitor. Valve invites the propounding party to meet and confer to identify with specificity
 6   the categories of documents it seeks and to narrow the scope of this request.
 7   REQUEST FOR PRODUCTION NO. 5:
 8           REPORTS sufficient to show the percentage of APPS purchased directly from YOUR
 9   APP MARKETPLACE(S) versus the percentage of APPS purchased from third parties,
10   INCLUDING from GAME KEYS.
11   RESPONSE TO REQUEST FOR PRODUCTION NO. 5:
12           Subject to and in addition to General Objections, Valve objects to this request to the
13   extent it seeks user-specific information or infringe on users’ privacy or personal information
14   and/or invades any right to privacy under any applicable state or federal law or constitutional
15   provision. Valve further objects to this request as massively overbroad and unduly burdensome
16   insofar as it requires Valve to review millions of transactions and data from millions of user
17   accounts. Valve further objects to this request as overly broad and unduly burdensome as
18   phrased, and insofar as it would require Valve to create new documents, information, or analyses
19   that are not kept in the ordinary course of business or to provide information in a form other than
20   that kept in the ordinary course of business. Valve also objects to this request as unduly
21   burdensome insofar as they seek information that is publicly available. Valve further objects to
22   this request as overly broad in scope and unduly burdensome insofar as they seek information
23   regarding Valve “APPS” shipped on Apple devices, which information is already in Apple’s
24   possession, see, e.g., https://apps.apple.com/us/developer/valve/id495369751. Valve also objects
25   to this request to the extent it seeks production of documents that are not relevant to the claims
26   and defenses at issue in the captioned actions and are not proportional to the needs of the cases.
27   Moreover, Valve objects to this request to the extent that many or all of the documents sought
28   contain trade secrets or highly confidential, business, financial, proprietary, or commercially


                                                      -10-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 12 of 48



 1   sensitive information, particularly insofar as such information is sought by a potential business
 2   competitor. Valve invites the propounding party to meet and confer to identify with specificity
 3   the categories of documents it seeks and to narrow the scope of this request.
 4   REQUEST FOR PRODUCTION NO. 6
 5           DOCUMENTS CONCERNING STEAMOS INCLUDING the development of
 6   STEAMOS, COMMUNICATIONS about and with DEVICE manufacturers CONCERNING
 7   STEAMOS, and REPORTS sufficient to show STEAMOS utilization.
 8   RESPONSE TO REQUEST FOR PRODUCTION NO. 6:
 9           Subject to and in addition to General Objections, Valve objects to this request the extent
10   it seeks user-specific information or infringes on users’ privacy or personal information and/or
11   invades any right to privacy under any applicable state or federal law or constitutional provision.
12   Valve further objects to this request as massively overbroad and unduly burdensome insofar as it
13   requires Valve to review millions of transactions and data from millions of user accounts. Valve
14   objects to this request as overly broad and unduly burdensome as phrased, and insofar as it
15   would require Valve to create new documents, information, or analyses that are not kept in the
16   ordinary course of business or to provide information in a form other than that kept in the
17   ordinary course of business. Valve also objects to this request to the extent it seeks production of
18   documents that are not relevant to the claims and defenses at issue in the captioned actions and
19   are not proportional to the needs of the cases. Valve further objects to this request insofar as it
20   calls for production of any source code, which Valve declines to do as described above in its
21   General Objections. Moreover, Valve objects to this request to the extent that many or all of the
22   documents sought contain trade secrets or highly confidential, business, financial, proprietary, or
23   commercially sensitive information, particularly insofar as such information is sought by a
24   potential business competitor. Valve invites the propounding party to meet and confer to
25   identify with specificity the categories of documents it seeks and to narrow the scope of this
26   request.
27   //
28   //


                                                      -11-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 13 of 48



 1   REQUEST FOR PRODUCTION NO. 7:
 2           DOCUMENTS and COMMUNICATIONS CONCERNING the availability and usage of
 3   YOUR APP MARKETPLACE(S), INCLUDING STEAM, and YOUR APP(S), INCLUDING
 4   STEAM LINK, on DEFENDANT’S iOS operating system, DEFENDANT’S DEVICES, and
 5   DEFENDANT’S APP MARKETPLACE, INCLUDING DOCUMENTS and
 6   COMMUNICATIONS CONCERNING the publication of STEAM LINK on DEFENDANT’S
 7   APP MARKETPLACE as summarized in a June 4, 2018 article, available at
 8   https://www.reuters.com/article/us-apple-steam/apple-issues-new-app-store-rules-aimed-at-
 9   streaming-pc-based-games-idUSKCN1J034K.
10   RESPONSE TO REQUEST FOR PRODUCTION NO. 7:
11           Subject to and in addition to General Objections, Valve objects to this request to the
12   extent it seeks user-specific information or infringe on users’ privacy or personal information
13   and/or invades any right to privacy under any applicable state or federal law or constitutional
14   provision. Valve further objects to this request as massively overbroad and unduly burdensome
15   insofar as it requires Valve to review millions of transactions and data from millions of user
16   accounts. Valve further objects to this request as overly broad and unduly burdensome as
17   phrased, and insofar as it would require Valve to create new documents, information, or analyses
18   that are not kept in the ordinary course of business or to provide information in a form other than
19   that kept in the ordinary course of business. Valve also objects to this request as unduly
20   burdensome insofar as they seek information that is publicly available at
21   https://store.steampowered.com/steamlink/about/, https://store.steampowered.com/remoteplay
22   and https://partner.steamgames.com/doc/ features/remoteplay. Valve further objects to this
23   request as overly broad in scope and unduly burdensome insofar as they seek information
24   regarding Valve “APPS” shipped on Apple devices, which information is already in Apple’s
25   possession, see, e.g., https://apps.apple.com/us/developer/valve/id495369751. Valve also objects
26   to this request to the extent it seeks production of documents that are not relevant to the claims
27   and defenses at issue in the captioned actions and are not proportional to the needs of the cases.
28   Moreover, Valve objects to this request to the extent that many or all of the documents sought


                                                      -12-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 14 of 48



 1   contain trade secrets or highly confidential, business, financial, proprietary, or commercially
 2   sensitive information, particularly insofar as such information is sought by a potential business
 3   competitor. Valve invites the propounding party to meet and confer to identify with specificity
 4   the categories of documents it seeks and to narrow the scope of this request.
 5   REQUEST FOR PRODUCTION NO. 8:
 6           DOCUMENTS and COMMUNICATIONS CONCERNING the development,
 7   distribution, and utilization of YOUR APP(S), INCLUDING STEAM LINK, and REPORTS
 8   sufficient to show any tendency for consumers to download YOUR APP(S) on any DEVICES.
 9   RESPONSE TO REQUEST FOR PRODUCTION NO. 8:
10           Subject to and in addition to General Objections, Valve objects to this request as overly
11   broad and unduly burdensome as phrased, and insofar as it would require Valve to create new
12   documents, information, or analyses that are not kept in the ordinary course of business or to
13   provide information in a form other than that kept in the ordinary course of business. Valve
14   further objects to the phrase “tendency for consumers” as used in this request as vague,
15   ambiguous, overbroad, harassing and unduly burdensome. Valve also objects to this request to
16   the extent it seeks user-specific information or infringes on users’ privacy or personal
17   information and/or invades any right to privacy under any applicable state or federal law or
18   constitutional provision. Valve further objects to this request as massively overbroad and unduly
19   burdensome insofar as it requires Valve to review millions of transactions and data from millions
20   of user accounts. Valve also objects to these requests as unduly burdensome insofar as they seek
21   information that is publicly available, e.g., at https://store.steampowered.com/steamlink/about/,
22   https://store.steampowered.com/remoteplay or https://partner.steamgames.com/doc/
23   features/remoteplay. Valve also objects to this request to the extent it seeks production of
24   documents that are not relevant to the claims and defenses at issue in the captioned actions and
25   are not proportional to the needs of the cases. Moreover, Valve objects to this request to the
26   extent that many or all of the documents sought contain trade secrets or highly confidential,
27   business, financial, proprietary, or commercially sensitive information, particularly insofar as
28   such information is sought by a potential business competitor. Valve invites the propounding


                                                      -13-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 15 of 48



 1   party to meet and confer to identify with specificity the categories of documents it seeks and to
 2   narrow the scope of this request.
 3   REQUEST FOR PRODUCTION NO. 9:
 4   COMMUNICATIONS CONCERNING whether consumers are willing to purchase a DEVICE
 5   with a different operating system or from a different DEVICE manufacturer than they already
 6   own and any switching costs they many consider, INCLUDING the value of any APPS
 7   previously purchased that the consumer cannot operate on the new DEVICE.
 8   RESPONSE TO REQUEST FOR PRODUCTION NO. 9:
 9           Subject to and in addition to General Objections, Valve objects to this request to the
10   extent it seeks user-specific information or infringe on users’ privacy or personal information
11   and/or invades any right to privacy under any applicable state or federal law or constitutional
12   provision. Valve further objects to this request as massively overbroad and unduly burdensome
13   insofar as it requires Valve to review millions of transactions and data from millions of user
14   accounts. Valve further objects to this request as overly broad and unduly burdensome as
15   phrased, and insofar as it would require Valve to create new documents, information, or analyses
16   that are not kept in the ordinary course of business or to provide information in a form other than
17   that kept in the ordinary course of business. Valve also objects to this request as unduly
18   burdensome insofar as they seek information that is publicly available at
19   https://steamcommunity.com/games/221410/ announcements/detail/1696055855739350561.
20   Valve also objects to this request to the extent it seeks production of documents that are not
21   relevant to the claims and defenses at issue in the captioned actions and are not proportional to
22   the needs of the cases. Moreover, Valve objects to this request to the extent that many or all of
23   the documents sought contain trade secrets or highly confidential, business, financial,
24   proprietary, or commercially sensitive information, particularly insofar as such information is
25   sought by a potential business competitor. Valve invites the propounding party to meet and
26   confer to identify with specificity the categories of documents it seeks and to narrow the scope of
27   this request.
28   //


                                                      -14-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 16 of 48



 1   REQUEST FOR PRODUCTION NO. 10:
 2           DOCUMENTS sufficient to show any efforts undertaken by YOU to attract or
 3   incentivize APP DEVELOPERS to develop APPS for distribution to YOUR APP
 4   MARKETPLACE.
 5   RESPONSE TO REQUEST FOR PRODUCTION NO. 10:
 6           Subject to and in addition to General Objections, Valve objects to this request as overly
 7   broad in time and in scope. Moreover, Valve objects to this request to the extent that many or
 8   all of the documents sought contain trade secrets or highly confidential, business, financial,
 9   proprietary, or commercially sensitive information, particularly insofar as such information is
10   sought by a potential business competitor. Valve invites the propounding party to meet and
11   confer to identify with specificity the categories of documents it seeks and to narrow the scope of
12   this request.
13   REQUEST FOR PRODUCTION NO. 11:
14           DOCUMENTS created by YOU CONCERNING competition between or among APP
15   MARKETPLACES, INCLUDING any DOCUMENTS describing competition regarding
16   STEAM, YOUR strategy related to actual or potential competitors to STEAM, and YOUR
17   assessment of the market share for STEAM, INCLUDING any analysis performed of any actual
18   or potential competitor to STEAM, such as analysis of any actual or potential competitor’s
19   market share, APP pricing, commissions, product design, product functionality, APP promotion,
20   privacy or security policies, and/or APP REVIEW policies or procedures.
21   RESPONSE TO REQUEST FOR PRODUCTION NO. 11:
22           Subject to and in addition to General Objections, Valve objects to this request as overly
23   broad and unduly burdensome as phrased, and insofar as it would require Valve to create new
24   documents, information, or analyses that are not kept in the ordinary course of business or to
25   provide information in a form other than that kept in the ordinary course of business. Valve also
26   objects to this request to the extent it seek production of documents that are protected by
27   attorney-client or work product privileges, or documents that are not relevant to the claims and
28   defenses at issue in the captioned actions and are not proportional to the needs of the cases.


                                                      -15-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 17 of 48



 1   Moreover, Valve objects to this request to the extent that many or all of the documents sought
 2   contain trade secrets or highly confidential, business, financial, proprietary, or commercially
 3   sensitive information, particularly insofar as such information is sought by a potential business
 4   competitor. Valve invites the propounding party to meet and confer to identify with specificity
 5   the categories of documents it seeks and to narrow the scope of this request.
 6   REQUEST FOR PRODUCTION NO. 12:
 7           DOCUMENTS and COMMUNICATIONS CONCERNING any security breaches or
 8   privacy concerns relating to YOUR APP MARKETPLACE(S), INCLUDING those reported in
 9   an November 11, 2011 BBC News article, available at https://vvww.bbc.com/news/technology-
10   15690187, an May 31, 2018 Vice article available at,
11   https://www.vice.com/en/article/9k8qv5/steam-exploit-left-users- vulnerable-for- 10-years, and
12   an August 9, 2019 Forbes article, available at
13   https://www.forhes.com/site,s/daveywinder/2019/08/09/critical-steam-security-warning-issued-
14   for-72-million-windows-10-gamersi?sh=56130b6e35el.
15   RESPONSE TO REQUEST FOR PRODUCTION NO. 12:
16           Subject to and in addition to General Objections, Valve objects to this request to the
17   extent that many or all of the documents sought contain trade secrets or confidential, business,
18   financial, proprietary, law enforcement, or commercially sensitive information, particularly
19   insofar as such information is sought by a potential business competitor. Valve further objects to
20   this request on the grounds that it seeks documents protected by attorney-client, work product,
21   common interest and/or litigation privileges. Valve also objects to this request to the extent it
22   seeks production of documents that are not relevant to the claims and defenses at issue in the
23   captioned actions and are not proportional to the needs of the cases. Valve objects to this request
24   to the extent it infringes on users’ privacy or personal information and/or invades any right to
25   privacy under any applicable state or federal law or constitutional provision. Valve objects to
26   this request as overly broad in time and in scope and unduly burdensome as phrased, and insofar
27   as it would require Valve to create new documents, information, or analyses that are not kept in
28   the ordinary course of business or to provide information in a form other than that kept in the


                                                      -16-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 18 of 48



 1   ordinary course of business. Based on its objections, Valve will not produce documents in
 2   response to this request.
 3   REQUEST FOR PRODUCTION NO. 13:
 4           DOCUMENTS sufficient to show YOUR agreements or contracts with APP
 5   DEVELOPERS, INCLUDING any agreements or contracts with EPIC, effective during the
 6   period that YOU have operated any APP MARKETPLACE, INCLUDING any contracts,
 7   guidelines, or rules setting forth the terms and conditions under which APP DEVELOPERS may
 8   distribute APPS through YOUR APP MARKETPLACE(S).
 9   RESPONSE TO REQUEST FOR PRODUCTION NO. 13:
10           Subject to and in addition to General Objections, Valve objects to this request as overly
11   broad and unduly burdensome as phrased, and insofar as they would require Valve to create new
12   documents, information, or analyses that are not kept in the ordinary course of business or to
13   provide information in a form other than that kept in the ordinary course of business. Valve also
14   objects to this request as unduly burdensome insofar as they seek information that is publicly
15   available, e.g., on Steam or www.partner.steamgames.com. Valve further objects to this request
16   to the extent it seeks production of documents that are protected by attorney-client or work
17   product privileges, or documents that are not relevant to the claims and defenses at issue in the
18   captioned actions and are not proportional to the needs of the cases. Moreover, Valve objects to
19   this request to the extent that many or all of the documents sought contain trade secrets or highly
20   confidential, business, financial, proprietary, or commercially sensitive information, particularly
21   insofar as such information is sought by a potential business competitor. Valve invites the
22   propounding party to meet and confer to identify with specificity the categories of documents it
23   seeks and to narrow the scope of this request.
24   REQUEST FOR PRODUCTION NO. 14:
25           DOCUMENTS sufficient to show any annual fee(s) or registration fee(s) paid by APP
26   DEVELOPERS in order to develop and publish APPS in YOUR APP MARKETPLACE(S).
27   RESPONSE TO REQUEST FOR PRODUCTION NO. 14:
28           Subject to and in addition to General Objections, Valve objects to this request as overly


                                                        -17-
                                 Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 19 of 48



 1   broad and unduly burdensome as phrased, and insofar as they would require Valve to create new
 2   documents, information, or analyses that are not kept in the ordinary course of business or to
 3   provide information in a form other than that kept in the ordinary course of business. Valve also
 4   objects to this request as unduly burdensome insofar as they seek information that is publicly
 5   available, e.g., on Steam or www.partner.steamgames.com. Valve further objects to this request
 6   to the extent it seeks production of documents that are protected by attorney-client or work
 7   product privileges, or documents that are not relevant to the claims and defenses at issue in the
 8   captioned actions and are not proportional to the needs of the cases. Moreover, Valve objects to
 9   this request to the extent that many or all of the documents sought contain trade secrets or highly
10   confidential, business, financial, proprietary, or commercially sensitive information, particularly
11   insofar as such information is sought by a potential business competitor. Valve invites the
12   propounding party to meet and confer to identify with specificity the categories of documents it
13   seeks and to narrow the scope of this request.
14   REQUEST FOR PRODUCTION NO. 15:
15           DOCUMENTS sufficient to show any commissions and/or transaction fees charged by
16   YOU when a user makes a purchase from YOUR APP MARKETPLACE(S) or from an APP
17   downloaded from the same, INCLUDING:
18           a.     any commissions and/or transaction fees charged on the sale of APPS or IN-APP
19   PRODUCTS and any exemptions from or limitations on such commissions or fees; and
20           b.     the impact on any commission rates and/or transaction fees charged by YOU
21   when a user makes a purchase through the use of any discount, virtual currency, or particular
22   payment method, INCLUDING any particular credit card.
23   RESPONSE TO REQUEST FOR PRODUCTION NO. 15:
24           Subject to and in addition to General Objections, Valve objects to this request as overly
25   broad and unduly burdensome as phrased, and insofar as they would require Valve to create new
26   documents, information, or analyses that are not kept in the ordinary course of business or to
27   provide information in a form other than that kept in the ordinary course of business. Valve also
28   objects to this request as unduly burdensome insofar as they seek information that is publicly


                                                      -18-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 20 of 48



 1   available, e.g., on Steam or www.partner.steamgames.com. Valve further objects to this request
 2   to the extent it seeks production of documents that are protected by attorney-client or work
 3   product privileges, or documents that are not relevant to the claims and defenses at issue in the
 4   captioned actions and are not proportional to the needs of the cases.
 5           Valve also objects to this request to the extent it seeks user-specific information or
 6   infringe on users’ privacy or personal information and/or invades any right to privacy under any
 7   applicable state or federal law or constitutional provision. Valve further objects to this request as
 8   massively overbroad and unduly burdensome insofar as they require Valve to review millions of
 9   transactions and data from millions of user accounts. Moreover, Valve objects to this request to
10   the extent that many or all of the documents sought contain trade secrets or highly confidential,
11   business, financial, proprietary, or commercially sensitive information, particularly insofar as
12   such information is sought by a potential business competitor. Valve invites the propounding
13   party to meet and confer to identify with specificity the categories of documents it seeks and to
14   narrow the scope of this request.
15   REQUEST FOR PRODUCTION NO. 16:
16           REPORTS CONCERNING YOUR decision to change any commission rates on APPS or
17   IN-APP PRODUCTS distributed through YOUR APP MARKETPLACE(S).
18   RESPONSE TO REQUEST FOR PRODUCTION NO. 16:
19           Subject to and in addition to General Objections, Valve objects to this request as overly
20   broad and unduly burdensome as phrased, and insofar as it would require Valve to create new
21   documents, information, or analyses that are not kept in the ordinary course of business or to
22   provide information in a form other than that kept in the ordinary course of business. Valve also
23   objects to this request to the extent it seek production of documents that are protected by
24   attorney-client or work product privileges, or documents that are not relevant to the claims and
25   defenses at issue in the captioned actions and are not proportional to the needs of the cases.
26   Moreover, Valve objects to this request to the extent that many or all of the documents sought
27   contain trade secrets or highly confidential, business, financial, proprietary, or commercially
28   sensitive information, particularly insofar as such information is sought by a potential business


                                                      -19-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 21 of 48



 1   competitor. Valve invites the propounding party to meet and confer to identify with specificity
 2   the categories of documents it seeks and to narrow the scope of this request.
 3   REQUEST FOR PRODUCTION NO. 17:
 4           DOCUMENTS sufficient to show any rules or policies CONCERNING the price at
 5   which APPS or IN-APP PRODUCTS may, be offered for, sale in YOUR APP.
 6   MARKETPLACE(S), INCLUDING:
 7           a.     any requirements that prices end in a specific number (e.g., “.99”);
 8           b.     any variations in pricing based on the use of payment methods by consumers
 9   (e.g., discounts); and
10           c.     any requirements that prices for APPS in YOUR APP MARKETPLACE(S) be
11   linked to prices charged for the same APPS in other APP MARKETPLACES other than YOURS
12   (e.g., “most favored nation” requirements).
13   RESPONSE TO REQUEST FOR PRODUCTION NO. 17:
14           Subject to and in addition to General Objections, Valve objects to this request as overly
15   broad and unduly burdensome as phrased, and insofar as they would require Valve to create new
16   documents, information, or analyses that are not kept in the ordinary course of business or to
17   provide information in a form other than that kept in the ordinary course of business. Valve also
18   objects to this request as unduly burdensome insofar as they seek information that is publicly
19   available, e.g., on Steam or www.partner.steamgames.com. Valve further objects to this request
20   to the extent it seeks production of documents that are protected by attorney-client or work
21   product privileges, or documents that are not relevant to the claims and defenses at issue in the
22   captioned actions and are not proportional to the needs of the cases. Moreover, Valve objects to
23   this request to the extent that many or all of the documents sought contain trade secrets or highly
24   confidential, business, financial, proprietary, or commercially sensitive information, particularly
25   insofar as such information is sought by a potential business competitor. Valve invites the
26   propounding party to meet and confer to identify with specificity the categories of documents it
27   seeks and to narrow the scope of this request.
28   //


                                                      -20-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 22 of 48



 1   REQUEST FOR PRODUCTION NO. 18:
 2           All DOCUMENTS and REPORTS CONCERNING YOUR decision that “Starting from
 3   October 1, 2018 (i.e. revenues prior to that date are not included), when a game makes over $10
 4   million on Steam, the revenue share for that application will adjust to 75 percent/25 percent on
 5   earnings beyond $10M. At $50 million, the revenue share will adjust to 80 percent/20 percent on
 6   earnings beyond $50M,” as described in a December 18, 2018 blog post, available at,
 7   https://www.vice.com/en/article/vbaxkb/fortnite-is-so-popular-it-could-end-steams-decade-long-
 8   dominance.
 9   RESPONSE TO REQUEST FOR PRODUCTION NO. 18:
10           Subject to and in addition to General Objections, Valve objects to this request as overly
11   broad and unduly burdensome as phrased, and insofar as it would require Valve to create new
12   documents, information, or analyses that are not kept in the ordinary course of business or to
13   provide information in a form other than that kept in the ordinary course of business. Valve also
14   objects to this request to the extent it seek production of documents that are protected by
15   attorney-client or work product privileges, or documents that are not relevant to the claims and
16   defenses at issue in the captioned actions and are not proportional to the needs of the cases.
17   Moreover, Valve objects to this request to the extent that many or all of the documents sought
18   contain trade secrets or highly confidential, business, financial, proprietary, or commercially
19   sensitive information, particularly insofar as such information is sought by a potential business
20   competitor. Valve invites the propounding party to meet and confer to identify with specificity
21   the categories of documents it seeks and to narrow the scope of this request.
22   REQUEST FOR PRODUCTION NO. 19:
23           DOCUMENTS CONCERNING the amount and value of services provided by STEAM
24   to APP consumers, INCLUDING APP REVIEW, store curation and social networking.
25   RESPONSE TO REQUEST FOR PRODUCTION NO. 19:
26           Subject to and in addition to General Objections, Valve objects to this request as overly
27   broad and unduly burdensome as phrased, and insofar as it would require Valve to create new
28   documents, information, or analyses that are not kept in the ordinary course of business or to


                                                      -21-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 23 of 48



 1   provide information in a form other than that kept in the ordinary course of business. Valve also
 2   objects to the phrases “the amount and value”, unspecified “services provided by STEAM to
 3   APP consumers,” “store curation” and “social networking” as used in this request as vague,
 4   ambiguous, overbroad, unduly burdensome. Valve further objects to this request as overly broad
 5   in time and in scope and unduly burdensome insofar as it would require Valve to create new
 6   documents, information, or analyses that are not kept in the ordinary course of business or to
 7   provide information in a form other than that kept in the ordinary course of business. Valve also
 8   objects to these requests as unduly burdensome insofar as they seek information that is publicly
 9   available, e.g., at https://store.steampowered.com/ or https://help.steampowered.com/en/. Valve
10   also objects to this request to the extent it seeks production of documents that are not relevant to
11   the claims and defenses at issue in the captioned actions and are not proportional to the needs of
12   the cases. Valve further objects to this request insofar as it calls for production of any source
13   code, which Valve declines to do as described above in its General Objections. Moreover, Valve
14   objects to these requests to the extent that many or all of the documents sought contain trade
15   secrets or highly confidential, business, financial, proprietary, or commercially sensitive
16   information, particularly insofar as such information is sought by a potential business competitor.
17   Valve invites the propounding party to meet and confer to identify with specificity the categories
18   of documents it seeks and to narrow the scope of this request.
19   REQUEST FOR PRODUCTION NO. 20:
20           DOCUMENTS sufficient to show any marketing, services, assistance, or support YOU
21   provide for APP DEVELOPERS, INCLUDING APP development tools, application
22   programming interfaces (“APIs”), programming tools, technical support, opportunities for testing
23   APPS before they are released to the consumers, marketing, payment processing, refund
24   processing, and security measures.
25   RESPONSE TO REQUEST FOR PRODUCTION NO. 20:
26           Subject to and in addition to General Objections, Valve objects to this request as overly
27   broad and unduly burdensome as phrased, and insofar as they would require Valve to create new
28   documents, information, or analyses that are not kept in the ordinary course of business or to


                                                      -22-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 24 of 48



 1   provide information in a form other than that kept in the ordinary course of business. Valve also
 2   objects to this request as unduly burdensome insofar as they seek information that is publicly
 3   available, e.g., on Steam or www.partner.steamgames.com. Valve further objects to this request
 4   to the extent it seeks production of documents that are protected by attorney-client or work
 5   product privileges, or documents that are not relevant to the claims and defenses at issue in the
 6   captioned actions and are not proportional to the needs of the cases. Moreover, Valve objects to
 7   this request to the extent that many or all of the documents sought contain trade secrets or highly
 8   confidential, business, financial, proprietary, or commercially sensitive information, particularly
 9   insofar as such information is sought by a potential business competitor. Valve invites the
10   propounding party to meet and confer to identify with specificity the categories of documents it
11   seeks and to narrow the scope of this request.
12   REQUEST FOR PRODUCTION NO. 21:
13           DOCUMENTS sufficient to show, for each year since 2010, any costs, you incurred to
14   process payments for purchases of APPS and IN-APP PRODUCTS in YOUR APP
15   MARKETPLACE(S).
16   RESPONSE TO REQUEST FOR PRODUCTION NO. 21:
17           Subject to and in addition to General Objections, Valve objects to this request as overly
18   broad and unduly burdensome as phrased, particularly insofar as it includes a ten year time
19   frame, and insofar as it would require Valve to create new documents, information, or analyses
20   that are not kept in the ordinary course of business or to provide information in a form other than
21   that kept in the ordinary course of business. Valve also objects to this request to the extent it
22   seeks production of documents that are not relevant to the claims and defenses at issue in the
23   captioned actions and are not proportional to the needs of the cases. Moreover, Valve objects to
24   this request to the extent that many or all of the documents sought contain trade secrets or highly
25   confidential, business, financial, proprietary, or commercially sensitive information, particularly
26   insofar as such information is sought by a potential business competitor. Valve invites the
27   propounding party to meet and confer to identify with specificity the categories of documents it
28   seeks and to narrow the scope of this request.


                                                      -23-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 25 of 48



 1   REQUEST FOR PRODUCTION NO. 22:
 2           DOCUMENTS sufficient to show YOUR policies, practices, and/or procedures for
 3   handling and processing payments for the sale of IN-APP PRODUCTS in APPS distributed
 4   through YOUR APP MARKETPLACE, INCLUDING DOCUMENTS sufficient to show
 5   whether YOU require APPS distributed through YOUR APP MARKETPLACE to use a
 6   payment and purchase functionality provided by YOU to facilitate purchases of IN-APP
 7   PRODUCTS, and if so, whether YOU have ever departed from such requirement with respect to
 8   EPIC APPS or any other APP DEVELOPER’S APPS.
 9   RESPONSE TO REQUEST FOR PRODUCTION NO. 22:
10           Subject to and in addition to General Objections, Valve objects to this request as
11   disjunctive, compound, unintelligible, overly broad in time and in scope and unduly burdensome
12   as phrased, and insofar as it would require Valve to create new documents, information, or
13   analyses that are not kept in the ordinary course of business or to provide information in a form
14   other than that kept in the ordinary course of business. Valve also objects to this request as
15   unduly burdensome insofar as it seeks information that is publicly available, e.g., on Steam or
16   www.partner.steamgames.com. Valve also objects to this request to the extent it seeks
17   production of documents are not relevant to the claims and defenses at issue in the captioned
18   actions and are not proportional to the needs of the cases. Moreover, Valve objects to this
19   request to the extent that many or all of the documents sought contain trade secrets or highly
20   confidential, business, financial, proprietary, or commercially sensitive information, particularly
21   insofar as such information is sought by a potential business competitor. Valve invites the
22   propounding party to meet and confer to identify with specificity the categories of documents it
23   seeks and to narrow the scope of this request.
24   REQUEST FOR PRODUCTION NO. 23:
25           DOCUMENTS, INCLUDING COMMUNICATIONS with EPIC, CONCERNING
26   EPIC’s submission of Fortnite for distribution through YOUR APP MARKETPLACE.
27   RESPONSE TO REQUEST FOR PRODUCTION NO. 23:
28           Subject to and in addition to General Objections, Valve objects to this request as seeking


                                                      -24-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 26 of 48



 1   discovery from a non-party that is equally or more readily available through party discovery
 2   without imposing burden on a third party, as further described in Valve’s General Objection No.
 3   2, which is incorporated here by reference. Valve objects to this request as overly broad insofar
 4   as it seeks communications regarding matters not at issue in these cases, e.g., technical
 5   communications. Valve invites the propounding party to meet and confer to identify with
 6   specificity the categories of documents it seeks and to narrow the scope of this request.
 7   REQUEST FOR PRODUCTION NO. 24:
 8           DOCUMENTS sufficient to show, for STEAM and any other services that offer access to
 9   APPS that YOU offer to U.S. users on any DEVICE:
10           a.     the dates during which the service was available to U.S. consumers;
11           b.     for each year that the service was available, the number U.S. consumers who
12   subscribed to or otherwise used it;
13           c.     the method(s) used to monetize the service, INCLUDING, but not limited to,
14   ADVERTISING and subscriptions;
15           d.     YOUR decision to monetize the service, INCLUDING why YOU chose the
16   monetization strategy YOU did, and whether that strategy changed over time; and
17           e.     YOUR annual revenues from the service (by type of monetization, if available).
18   RESPONSE TO REQUEST FOR PRODUCTION NO. 24:
19           Subject to and in addition to General Objections, Valve objects to this request as overly
20   broad and unduly burdensome as phrased, and insofar as it would require Valve to create new
21   documents, information, or analyses that are not kept in the ordinary course of business or to
22   provide information in a form other than that kept in the ordinary course of business. Valve
23   further objects to these requests as overly broad in scope and unduly burdensome insofar as they
24   seek information regarding Valve “APPS” shipped on Apple devices, which information is
25   already in Apple’s possession, see, e.g., https://apps.apple.com/us/ developer/valve/id495369751.
26   Valve also objects to this request to the extent it seeks production of documents that are not
27   relevant to the claims and defenses at issue in the captioned actions and are not proportional to
28   the needs of the cases. Moreover, Valve objects to this request to the extent that many or all of


                                                      -25-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 27 of 48



 1   the documents sought contain trade secrets or highly confidential, business, financial,
 2   proprietary, or commercially sensitive information, particularly insofar as such information is
 3   sought by a potential business competitor. Subject to and without waiving the foregoing
 4   objections, Valve cannot comply with portions of this request seeking information or documents
 5   related to advertising as it does not advertise on Steam or in any Valve games. Valve invites the
 6   propounding party to meet and confer to identify with specificity the categories of documents it
 7   seeks and to narrow the scope of this request.
 8   REQUEST FOR PRODUCTION NO. 25:
 9           DOCUMENTS sufficient to describe YOUR efforts to REVIEW APPS made through
10   YOUR APP MARKETPLACE(S) or any other source, INCLUDING:
11           a.     guidelines, policies, and/or procedures for REVIEWING APPS;
12           b.     separately by year and operating system, any costs YOU incurred or resources
13   YOU expended in REVIEWING APPS;
14           c.     the efficacy of any such REVIEW of APPS, INCLUDING the number of
15   instances of MALWARE YOU detected, the number of instances of MALWARE YOUR
16   REVIEW failed to detect, and consumer and APP DEVELOPER COMMUNICATIONS
17   regarding any such REVIEW; and
18           d.     actual or intended efforts to communicate to users that YOU have REVIEWED
19   such APPS.
20   RESPONSE TO REQUEST FOR PRODUCTION NO. 25:
21           Subject to and in addition to General Objections, Valve objects to this request as overly
22   broad and unduly burdensome as phrased, and insofar as it would require Valve to create new
23   documents, information, or analyses that are not kept in the ordinary course of business or to
24   provide information in a form other than that kept in the ordinary course of business. Valve also
25   objects to this request to the extent it seeks production of documents that are protected by
26   attorney-client or work product privileges, or documents that are not relevant to the claims and
27   defenses at issue in the captioned actions and are not proportional to the needs of the cases.
28   Valve also objects to this request as unduly burdensome insofar as they seek information that is


                                                      -26-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 28 of 48



 1   publicly available, e.g., on Steam. Moreover, Valve objects to this request to the extent that
 2   many or all of the documents sought contain trade secrets or highly confidential, business,
 3   financial, proprietary, or commercially sensitive information, particularly insofar as such
 4   information is sought by a potential business competitor. Valve invites the propounding party to
 5   meet and confer to identify with specificity the categories of documents it seeks and to narrow
 6   the scope of this request.
 7   REQUEST FOR PRODUCTION NO. 26:
 8           DOCUMENTS describing the organizational structure of, and/or listing personnel
 9   working within any division or unit of YOUR business that is responsible for APP distribution
10   and/or YOUR APP MARKETPLACE(S) (INCLUDING APP REVIEW), INCLUDING any
11   organizational charts or employee directories pertaining to such business unit(s) or division(s).
12   RESPONSE TO REQUEST FOR PRODUCTION NO. 26:
13           Subject to and in addition to General Objections, Valve objects to this request as overly
14   broad and unduly burdensome insofar as it would require Valve to create new documents,
15   information, or analyses that are not kept in the ordinary course of business or to provide
16   information in a form other than that kept in the ordinary course of business. Valve also objects
17   to this request as unduly burdensome insofar as they seek information that is publicly available,
18   e.g., at www.valvesoftware.com/en/people. Subject to and without waiving the foregoing, Valve
19   cannot comply with this request as it does not maintain organizational charts or employee
20   directories.
21   REQUEST FOR PRODUCTION NO. 27:
22           DOCUMENTS sufficient to show the following per-user averages for consumers
23   associated with YOUR APP MARKETPLACE separately for each year since 2010:
24           a.     annual spending on APPS and IN-APP PRODUCTS;
25           b.     annual amounts received by YOU due to ADVERTISING shown to the user;
26           c.     the portion of annual spending that is attributable to credits, discounts, or virtual
27   currencies, INCLUDING gift cards, promotional codes, or the use of any particular credit card.
28   //


                                                         -27-
                                  Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 29 of 48



 1   RESPONSE TO REQUEST FOR PRODUCTION NO. 27:
 2           Subject to and in addition to General Objections, Valve objects to this request as overly
 3   broad and unduly burdensome as phrased, and insofar as it would require Valve to create new
 4   documents, information, or analyses that are not kept in the ordinary course of business or to
 5   provide information in a form other than that kept in the ordinary course of business. Valve
 6   further objects to this request as massively overbroad and unduly burdensome insofar as it
 7   requires Valve to review millions of transactions and data from millions of user accounts.
 8   Moreover, Valve objects to this request to the extent that many or all of the documents sought
 9   contain trade secrets or highly confidential, business, financial, proprietary, or commercially
10   sensitive information, particularly insofar as such information is sought by a potential business
11   competitor. Subject to and without waiving the foregoing objections, Valve cannot comply with
12   portions of this request seeking information or documents related to advertising as it does not
13   advertise on Steam or in any Valve games. Valve invites the propounding party to meet and
14   confer to identify with specificity the categories of documents it seeks and to narrow the scope of
15   this request.
16   REQUEST FOR PRODUCTION NO. 28:
17           REPORTS CONCERNING the existence of MALWARE, INCLUDING any efforts to
18   measure or quantify the number of APPS that contained MALWARE, the number of downloads
19   of APPS that, contained MALWARE and the impact of such MALWARE in:
20           a.      APPS offered by YOUR APP MARKETPLACE(S); and
21           b.      APPS offered by APP MARKETPLACES other than YOUR APP
22   MARKETPLACE(S).
23   RESPONSE TO REQUEST FOR PRODUCTION NO. 28:
24           Subject to and in addition to General Objections, Valve objects to this request as overly
25   broad and unduly burdensome as phrased, and insofar as it would require Valve to create new
26   documents, information, or analyses that are not kept in the ordinary course of business or to
27   provide information in a form other than that kept in the ordinary course of business. Valve also
28   objects to this request to the extent it seek production of documents that are protected by


                                                      -28-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 30 of 48



 1   attorney-client or work product privileges, or documents that are not relevant to the claims and
 2   defenses at issue in the captioned actions and are not proportional to the needs of the cases.
 3   Moreover, Valve objects to this request to the extent that many or all of the documents sought
 4   contain trade secrets or highly confidential, business, financial, proprietary, or commercially
 5   sensitive information, particularly insofar as such information is sought by a potential business
 6   competitor. Valve invites the propounding party to meet and confer to identify with specificity
 7   the categories of documents it seeks and to narrow the scope of this request.
 8   REQUEST FOR PRODUCTION NO. 29:
 9           DOCUMENTS sufficient to show, for each NAMED CONSUMER PLAINTIFF:
10           a.     the number of APPS downloaded by the NAMED CONSUMER PLAINTIFF
11   from YOUR APP MARKETPLACE(S);
12           b.     for each APP downloaded by the NAMED CONSUMER PLAINTIFF from
13   YOUR APP MARKETPLACE(S):
14                  i.      the identity of the APP;
15                  ii.     the date of download;
16                  iii.    the price paid for the download;
17                  iv.     the date that any IN-APP PRODUCT associated with the APP was
18                          purchased and the price paid for the IN-APP PRODUCT;
19                  v.      whether the APP uses a third party services for ADVERTISING; and
20                  vi.     to the extent the APP is available for use on a time-of-use basis, the
21                          number of minutes of usage of such APP.
22   RESPONSE TO REQUEST FOR PRODUCTION NO. 29:
23           Subject to and in addition to General Objections, Valve objects to Request Nos. 29 and
24   30 as overbroad and unduly burdensome as phrased and insofar as they would require Valve to
25   create new documents, information, or analyses that are not kept in the ordinary course of
26   business or to provide information in a form other than that kept in the ordinary course of
27   business. Valve also objects insofar as these requests seek user-specific information or infringes
28   on users’ privacy or personal information and/or invades any right to privacy under any


                                                      -29-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 31 of 48



 1   applicable state or federal law or constitutional provision. Subject to and without waiving its
 2   objections, Valve cannot comply with these requests without further identifying information for
 3   the persons named in each request, including email address used on their Steam accounts and
 4   Steam ID or account name and (for developers) the name(s) under which each named developer
 5   plaintiff submitted software for distribution via Steam.
 6   REQUEST FOR PRODUCTION NO. 30:
 7           DOCUMENTS sufficient to show, for each NAMED DEVELOPER PLAINTIFF:
 8           a.     whether the NAMED DEVELOPER PLAINTIFF has published APPS on YOUR
 9   APP MARKETPLACE(S);
10           b.     any identification or account number associated with the NAMED DEVELOPER
11   PLAINTIFF; and
12           c.     for each APP published by the NAMED DEVELOPER PLAINTIFF on YOUR
13   APP MARKETPLACE(S):
14                  i.      the name of the APP;
15                  ii.     the date range during which the APP was available for download on
16                          YOUR APP MARKETPLACE(S);
17                  iii.    the number of times the APP has been downloaded from YOUR APP
18                          MARKETPLACE(S) each year;
19                  iv.     the price of the APP and any IN-APP PRODUCT associated with the APP
20                          on YOUR APP MARKETPLACE(S), INCLUDING any changes to such
21                          pricing over time;
22                  v.      the total amount of money remitted by YOU to the NAMED
23                          DEVELOPER PLAINTIFF for purchases of such APP or associated IN-
24                          APP PRODUCT(S);
25                  vi.     whether the APP uses any third party service for ADVERTISING; and
26                  vii.    to the extent the APP is available for use on a time-of-use basis, the
27                          number of minutes of usage of such APP.
28   //


                                                      -30-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 32 of 48



 1   RESPONSE TO REQUEST FOR PRODUCTION NO. 30:
 2           Subject to and in addition to General Objections, Valve objects to Request Nos. 29 and
 3   30 as overbroad and unduly burdensome as phrased and insofar as they would require Valve to
 4   create new documents, information, or analyses that are not kept in the ordinary course of
 5   business or to provide information in a form other than that kept in the ordinary course of
 6   business. Valve also objects insofar as these requests seek user-specific information or infringes
 7   on users’ privacy or personal information and/or invades any right to privacy under any
 8   applicable state or federal law or constitutional provision. Subject to and without waiving its
 9   objections, Valve cannot comply with these requests without further identifying information for
10   the persons named in each request, including email address used on their Steam accounts and
11   Steam ID or account name and (for developers) the name(s) under which each named developer
12   plaintiff submitted software for distribution via Steam.
13   REQUEST FOR PRODUCTION NO. 31:
14           DOCUMENTS (INCLUDING data) sufficient to show, for each month since 2010:
15           a.     whether EPIC has published APPS on YOUR APP MARKETPLACE(S);
16           b.     any identification or account number associated with EPIC;
17           c.     for each APP published by EPIC on YOUR APP MARKETPLACE(S):
18                  i.      the name of the APP;
19                  ii.     the date range during which the APP was available for download on
20                          YOUR APP MARKETPLACE(S);
21                  iii.    the number of times the APP has been downloaded from YOUR APP
22                          MARKETPLACE(S) each year;
23                  iv.     the price of the APP and any IN-APP PRODUCT associated with the APP
24                          on YOUR APP MARKETPLACE(S), INCLUDING any changes to such
25                          pricing over time;
26                  v.      the total value in U.S. dollars of IN-APP PRODUCTS sold through EPIC
27                          APPS downloaded from YOUR APP MARKETPLACE;
28


                                                      -31-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 33 of 48



 1                   vi.     the total value in U.S. dollars of EPIC APPS downloaded from YOUR
 2                           APP MARKETPLACE;
 3                   vii.    the amount that YOU earned in commissions from each download of any
 4                           EPIC APP, and the effective commission rate on each such transaction;
 5                   viii.   the amount that YOU earned in commissions from each sale of any IN-
 6                           APP PRODUCT through EPIC APPS, and the effective commission rate
 7                           on each such transaction;
 8                   ix.     whether the APP uses any third party service for ADVERTISING; and
 9                   x.      to the extent the APP is available for use on a time-of-use basis, the
10                           number of minutes of usage of such APP.
11   RESPONSE TO REQUEST FOR PRODUCTION NO. 31:
12           Subject to and in addition to General Objections, Valve objects to this request insofar as
13   it seeks discovery from a non-party that is equally or more readily available through party
14   discovery without imposing burden on a third party, as further described in Valve’s General
15   Objection No. 2, which is incorporated here by reference. Valve objects to this request as overly
16   broad and unduly burdensome as phrased, and insofar as it would require Valve to create new
17   documents, information, or analyses that are not kept in the ordinary course of business or to
18   provide information in a form other than that kept in the ordinary course of business. Valve
19   further objects to this request insofar as it calls for information that is publicly available, e.g.,
20   through Steam or through Apple’s own examination of Epic’s software. Moreover, Valve
21   objects to this request to the extent that many or all of the documents sought contain trade secrets
22   or highly confidential, business, financial, proprietary, or commercially sensitive information,
23   particularly insofar as such information is sought by a potential business competitor. Valve
24   invites the propounding party to meet and confer to identify with specificity the categories of
25   documents it seeks and to narrow the scope of this request.
26   REQUEST FOR PRODUCTION NO. 32:
27           DOCUMENTS (INCLUDING data) sufficient to show, for each month since 2010 for
28   each APP published on YOUR APP MARKETPLACE(S):


                                                       -32-
                                Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 34 of 48



 1           a.     the name of the APP;
 2           b.     the date range during which the APP was available for download on YOUR APP
 3   MARKETPLACE(S); and
 4           c.     the price of the APP and any IN-APP PRODUCT associated with the APP on
 5   YOUR APP MARKETPLACE(S), INCLUDING any changes to such pricing over time.
 6   RESPONSE TO REQUEST FOR PRODUCTION NO. 32:
 7           Subject to and in addition to General Objections, Valve objects to this request as
 8   massively overbroad in scope and time and unduly burdensome as there have been tens of
 9   thousands of games available on Steam during the requested time period. Valve also objects to
10   this request as overly broad and unduly burdensome insofar as the request requires Valve to
11   create new documents, information, or analyses that are not kept in the ordinary course of
12   business or to provide information in a form other than that kept in the ordinary course of
13   business. Valve further objects to this request insofar as it calls for information that is publicly
14   available, e.g., through Apple’s own review of the Steam store. Valve also objects to this request
15   to the extent it seeks production of documents that are not relevant to the claims and defenses at
16   issue in the captioned actions and are not proportional to the needs of the cases.
17   REQUEST FOR PRODUCTION NO. 33:
18           DOCUMENTS sufficient to show the name of each APP, INCLUDING Counter-Strike,
19   Day of Defeat, Dota, Half-Life, Left 4 Dead, Portal, and Team Fortress, that YOU have
20   published in any APP MARKETPLACE, INCLUDING Google Play, the Samsung Galaxy Store,
21   Android Market, DEFENDANT’S iOS and Mac App Stores, the Amazon Appstore, Amazon
22   Underground, the Microsoft Store for Xbox, Windows Store, and Windows Phone Store, the
23   Epic Games Store, Origin, and other online storefronts distributing games and digital content,
24   and YOUR APP MARKETPLACE(S), and for each such APP:
25           a.,    the dates daring which, the APR VASS available fora. download by U.S.
26   consumers from each APP MARKETPLACE;
27           b.     for each year that the APP was available, the number of times that the APP was
28   downloaded by U.S. consumers from each PP MARKETPLACE;


                                                      -33-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 35 of 48



 1           c.     the method(s) used (if any) to monetize the APP, INCLUDING, but not limited
 2   to, whether the APP charges for APP downloads, sells IN-APP PRODUCTS, permits use of
 3   EXTERNAL PRODUCTS, features ADVERTISING, or uses any other method(s) or some
 4   combination of the above;
 5           d.     YOUR decision to monetize the APP, INCLUDING why YOU chose the
 6   monetization strategy YOU did, and whether that strategy changed over time;
 7           e.     YOUR annual revenues from APP downloads and IN-APP PRODUCTS
 8   attributable to such distribution (by APP and by type of monetization, if available); and
 9           f.     the number of minutes of usage of such APP that took place via a time-based APP
10   MARKETPLACE.
11   RESPONSE TO REQUEST FOR PRODUCTION NO. 33:
12           Subject to and in addition to General Objections, Valve objects to this request as overly
13   broad and unduly burdensome as phrased, and insofar as it would require Valve to create new
14   documents, information, or analyses that are not kept in the ordinary course of business or to
15   provide information in a form other than that kept in the ordinary course of business. Valve
16   further objects to this request as vague and ambiguous as to whether “APP MARKETPLACE” as
17   used in this request is limited to digital distribution, and interprets this request to exclude brick
18   and mortar distributors. Valve further objects to this request as overly broad in scope and unduly
19   burdensome insofar as it seeks information regarding Valve “APPS” shipped on Apple devices,
20   which information is already in Apple’s possession, see, e.g.,
21   https://apps.apple.com/us/developer/valve/id495369751. Valve also objects to this request to the
22   extent it seeks production of documents that are not relevant to the claims and defenses at issue
23   in the captioned actions and are not proportional to the needs of the cases. Moreover, Valve
24   objects to this request to the extent that many or all of the documents sought contain trade secrets
25   or highly confidential, business, financial, proprietary, or commercially sensitive information,
26   particularly insofar as such information is sought by a potential business competitor. Valve
27   invites the propounding party to meet and confer to identify with specificity the categories of
28   documents it seeks and to narrow the scope of this request.


                                                       -34-
                                Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 36 of 48



 1   REQUEST FOR PRODUCTION NO. 34:
 2           DOCUMENTS sufficient to show the name of each APP (if any) that YOU have made
 3   available for direct distribution (i.e., not through an APP MARKETPLACE) to HANDHELD
 4   DEVICE users, and for each such APP:
 5           a.     the dates during which the APP was available for direct download to such
 6   consumers;
 7           b.     for each year that the APP was available, the number of times that the APP was
 8   downloaded by consumers;
 9           c.     the method(s) used (if any) to monetize the APP, INCLUDING, but not limited
10   to, whether the APP charges for APP downloads, sells IN-APP PRODUCTS, permits use of
11   EXTERNAL PRODUCTS, features ADVERTISING, or uses any other method(s) or some
12   combination of the above;
13           d.     YOUR decision to monetize the APP, INCLUDING why YOU chose the revenue
14   model YOU did and whether that strategy changed over time; and
15           e.     YOUR annual revenues from APP downloads and IN-APP PRODUCTS
16   attributable to such distribution (by APP and by type of monetization, if available).
17   RESPONSE TO REQUEST FOR PRODUCTION NO. 34:
18           Subject to and in addition to General Objections, Valve objects to Request Nos. 34 and
19   35 as overly broad and unduly burdensome as phrased, and insofar as it would require Valve to
20   create new documents, information, or analyses that are not kept in the ordinary course of
21   business or to provide information in a form other than that kept in the ordinary course of
22   business. Valve further objects to these requests as vague and ambiguous as to whether “direct
23   distribution” as used in these requests is limited to digital distribution, and interprets these
24   requests to exclude brick and mortar distributors. Valve further objects to these requests as overly
25   broad in scope and unduly burdensome insofar as they seek information regarding Valve “APPS”
26   shipped on Apple devices, which information is already in Apple’s possession, see, e.g.,
27   https://apps.apple.com/us/developer/valve/id495369751. Valve also objects to these requests to
28   the extent they seeks production of documents that are not relevant to the claims and defenses at


                                                       -35-
                                Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 37 of 48



 1   issue in the captioned actions and are not proportional to the needs of the cases. Moreover,
 2   Valve objects to these requests to the extent that many or all of the documents sought contain
 3   trade secrets or highly confidential, business, financial, proprietary, or commercially sensitive
 4   information, particularly insofar as such information is sought by a potential business competitor.
 5   Valve invites the propounding party to meet and confer to identify with specificity the categories
 6   of documents it seeks and to narrow the scope of these requests.
 7   REQUEST FOR PRODUCTION NO. 35:
 8           DOCUMENTS sufficient to show the name of each APP (if any) that YOU have made
 9   available for direct distribution (i.e., not through an APP MARKETPLACE) to NON-
10   HANDHELD DEVICE users, and for each such APP:
11           a.     the dates during which the APP was available for direct download to such
12   consumers;
13           b.     for each year that the APP was available, the number of times that the APP was
14   downloaded by consumers;
15           c.     the method(s) used (if any) to monetize the APP, INCLUDING, but not limited
16   to, whether the APP charges for APP downloads, sells IN-APP PRODUCTS, permits use of
17   EXTERNAL PRODUCTS, features ADVERTISING, or uses any other method(s) or some
18   combination of the above;
19           d.     YOUR decision to monetize the APP, INCLUDING why YOU chose the revenue
20   model YOU did, and whether that strategy changed over time; and
21           e.     YOUR annual revenues from APP downloads and IN-APP PRODUCTS
22   attributable to such distribution (by APP and by type of monetization, if available).
23   RESPONSE TO REQUEST FOR PRODUCTION NO. 35:
24           Subject to and in addition to General Objections, Valve objects to Request Nos. 34 and
25   35 as overly broad and unduly burdensome as phrased, and insofar as it would require Valve to
26   create new documents, information, or analyses that are not kept in the ordinary course of
27   business or to provide information in a form other than that kept in the ordinary course of
28   business. Valve further objects to these requests as vague and ambiguous as to whether “direct


                                                      -36-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 38 of 48



 1   distribution” as used in these requests is limited to digital distribution, and interprets these
 2   requests to exclude brick and mortar distributors. Valve further objects to these requests as overly
 3   broad in scope and unduly burdensome insofar as they seek information regarding Valve “APPS”
 4   shipped on Apple devices, which information is already in Apple’s possession, see, e.g.,
 5   https://apps.apple.com/us/developer/valve/id495369751. Valve also objects to these requests to
 6   the extent they seeks production of documents that are not relevant to the claims and defenses at
 7   issue in the captioned actions and are not proportional to the needs of the cases. Moreover,
 8   Valve objects to these requests to the extent that many or all of the documents sought contain
 9   trade secrets or highly confidential, business, financial, proprietary, or commercially sensitive
10   information, particularly insofar as such information is sought by a potential business competitor.
11   Valve invites the propounding party to meet and confer to identify with specificity the categories
12   of documents it seeks and to narrow the scope of these requests.
13   REQUEST FOR PRODUCTION NO. 36:
14           DOCUMENTS sufficient to describe YOUR decision to prohibit or allow:
15           a.     “cross-play” (i.e., the extent to which users of an APP can interact with or play
16   against other users of the APP while on different DEVICES), for any particular APP; and/or
17           b.     IN-APP PRODUCTS or EXTERNAL PRODUCTS purchased on one DEVICE to
18   be applied to the same APP on another DEVICE.
19   RESPONSE TO REQUEST FOR PRODUCTION NO. 36:
20           Subject to and in addition to General Objections, Valve objects to Request No. 36 as
21   overly broad and unduly burdensome as phrased, and insofar as it would require Valve to create
22   new documents, information, or analyses that are not kept in the ordinary course of business or to
23   provide information in a form other than that kept in the ordinary course of business. Valve also
24   objects to this request to the extent it seeks production of documents that are not relevant to the
25   claims and defenses at issue in the captioned actions and are not proportional to the needs of the
26   cases. Moreover, Valve objects to this request to the extent that many or all of the documents
27   sought contain trade secrets or highly confidential, business, financial, proprietary, or
28   commercially sensitive information, particularly insofar as such information is sought by a


                                                       -37-
                                Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 39 of 48



 1   potential business competitor. Valve invites the propounding party to meet and confer to
 2   identify with specificity the categories of documents it seeks and to narrow the scope of this
 3   request.
 4   REQUEST FOR PRODUCTION NO. 37
 5           For each of YOUR APPS, DOCUMENTS sufficient to show the extent to which game
 6   progress achieved on one DEVICE can be applied to the same game on another DEVICE.
 7   RESPONSE TO REQUEST FOR PRODUCTION NO. 37:
 8           Subject to and in addition to General Objections, Valve objects to Request No. 37 insofar
 9   as it calls for production of any source code, which Valve declines to do as described above in its
10   General Objections. Valve also objects to this request as overly broad and unduly burdensome as
11   phrased, and insofar as it would require Valve to create new documents, information, or analyses
12   that are not kept in the ordinary course of business or to provide information in a form other than
13   that kept in the ordinary course of business. Valve also objects to this request as unduly
14   burdensome insofar as it seeks information that is publicly available, e.g., through use of Valve’s
15   games, which are all readily accessible via Steam, or at
16   https://support.steampowered.com/kb_article.php?ref=6736-QEIG-8941. Valve also objects to
17   this request to the extent it seeks production of documents that are not relevant to the claims and
18   defenses at issue in the captioned actions and are not proportional to the needs of the cases.
19   Moreover, Valve objects to this request to the extent that many or all of the documents sought
20   contain trade secrets or highly confidential, business, financial, proprietary, or commercially
21   sensitive information, particularly insofar as such information is sought by a potential business
22   competitor. Valve invites the propounding party to meet and confer to identify with specificity
23   the categories of documents it seeks and to narrow the scope of this request.
24   REQUEST FOR PRODUCTION NO. 38:
25           ALL COMMUNICATIONS between YOU and any NAMED CONSUMER
26   PLAINTIFF.
27   RESPONSE TO REQUEST FOR PRODUCTION NO. 38:
28           Subject to and in addition to General Objections, Valve objects to Request Nos. 38 and


                                                      -38-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 40 of 48



 1   39 as seeking discovery from a non-party that is equally or more readily available through party
 2   discovery without imposing burden on a third party, as further described in Valve’s General
 3   Objection No. 2, which is incorporated here by reference. Valve further objects to these requests
 4   as overly broad in time and in scope. Valve also objects to these requests to the extent they seek
 5   production of documents that are not relevant to the claims and defenses at issue in the captioned
 6   actions and are not proportional to the needs of the cases. Valve invites the propounding party to
 7   meet and confer to identify with specificity the categories of documents it seeks and to narrow
 8   the scope of these requests.
 9   REQUEST FOR PRODUCTION NO. 39:
10           ALL COMMUNICATIONS between YOU and any NAMED DEVELOPER
11   PLAINTIFF.
12   RESPONSE TO REQUEST FOR PRODUCTION NO. 39:
13           Subject to and in addition to General Objections, Valve objects to Request Nos. 38 and
14   39 as seeking discovery from a non-party that is equally or more readily available through party
15   discovery without imposing burden on a third party, as further described in Valve’s General
16   Objection No. 2, which is incorporated here by reference. Valve further objects to these requests
17   as overly broad in time and in scope. Valve also objects to these requests to the extent they seek
18   production of documents that are not relevant to the claims and defenses at issue in the captioned
19   actions and are not proportional to the needs of the cases. Valve invites the propounding party to
20   meet and confer to identify with specificity the categories of documents it seeks and to narrow
21   the scope of these requests.
22   REQUEST FOR PRODUCTION NO. 40:
23           ALL COMMUNICATIONS between YOU and any APP DEVELOPER, INCLUDING
24   EPIC CONCERNING:
25           a.     the DEFENDANT’S iOS App Store, INCLUDING any guidelines, policies, and
26   procedures for the DEFENDANT’S iOS App Store;
27           b.     policies, practices, and/or procedures for handling and processing payments for
28   the sale of.IN APP PRODUCTS; and


                                                      -39-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 41 of 48



 1           c.     the following ongoing litigation, INCLUDING declarations, anticipated oral
 2   testimony, or documentary evidence relating to the same:
 3                  i.      Pepper v. Apple Inc., Case No. 4:11-cv-06714-YGR (N.D. Cal.);
 4                  ii.     Lawrence v. Apple Inc., Case No. 4:19-cv-02852-YGR (N.D. Cal.);
 5                  iii.    Cameron v. Apple Inc., Case No. 419-cv-03074-YGR (N.D. Cal.);
 6                  iv.     Sermons v. Apple Inc., Case No. 4:19-cv-03796-YGR (N.D. Cal.); and
 7                  v.      Epic Games, Inc. v. Apple Inc., Case No. 4:20-cv-05640-YGR (N.D. Cal.).
 8   RESPONSE TO REQUEST FOR PRODUCTION NO. 40:
 9           Subject to and in addition to General Objections, Valve objects to this request as seeking
10   discovery from a non-party that is equally or more readily available through party discovery
11   without imposing burden on a third party, as further described in Valve’s General Objection No.
12   2, which is incorporated here by reference. Valve also objects to this request as overly broad in
13   time and in scope and unduly burdensome insofar as the request purports to require Valve to
14   search for “ALL COMMUNICATIONS” with any developer of the tens of thousands of games
15   available on Steam for multiple topics. Valve also objects to this request to the extent it seeks
16   production of documents that are not relevant to the claims and defenses at issue in the captioned
17   actions and are not proportional to the needs of the cases. Valve invites the propounding party to
18   meet and confer to identify with specificity the categories of documents it seeks and to narrow
19   the scope of this request.
20   REQUEST FOR PRODUCTION NO. 41:
21           ALL COMMUNICATIONS between YOU and any DEVICE manufacturer or
22   telecommunications provider (INCLUDING Verizon Wireless, AT&T Mobility, T-Mobile U.S.,
23   or Sprint Corporation) CONCERNING:
24           a.     the presence or risk of any APPS with MALWARE in any APP
25   MARKETPLACE;
26           b.     any APPS rejected, removed, or hidden from any APP MARKETPLACE:
27           b.     any APP DEVELOPER for whom YOU have in any way restricted their/its
28   ability to publish APPS in YOUR APP MARKETPLACE;


                                                         -40-
                                  Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 42 of 48



 1           d.     any discussion or agreement regarding pre-installation of APPS or APP
 2   MARKETPLACES on DEVICES; and
 3           e.     any relationship between the ability to install or use a given APP
 4   MARKETPLACE on a DEVICE and the attractiveness to consumers of such DEVICE.
 5   RESPONSE TO REQUEST FOR PRODUCTION NO. 41:
 6           Subject to and in addition to General Objections, Valve objects to this request as overly
 7   broad in time and in scope and unduly burdensome insofar as the request purports to require
 8   Valve to search for “ALL COMMUNICATIONS” with numerous manufacturers and
 9   telecommunications providers over several years regarding multiple topics. Valve also objects to
10   this request to the extent it seeks production of documents that are not relevant to the claims and
11   defenses at issue in the captioned actions and are not proportional to the needs of the cases.
12   Moreover, Valve objects to this request to the extent that many or all of the documents sought
13   contain trade secrets or highly confidential, business, financial, proprietary, or commercially
14   sensitive information, particularly insofar as such information is sought by a potential business
15   competitor. Valve invites the propounding party to meet and confer to identify with specificity
16   the categories of documents it seeks and to narrow the scope of this request.
17   REQUEST FOR PRODUCTION NO. 42:
18           ALL COMMUNICATIONS or DOCUMENTS exchanged between YOU and any
19   federal, state, or local governmental entity, either foreign or domestic, INCLUDING any U.S. or
20   state agency, attorney general’s office, or congressional committee, CONCERNING any APP
21   MARKETPLACE(S) or the DEFENDANT.
22   RESPONSE TO REQUEST FOR PRODUCTION NO. 42:
23           Subject to and in addition to General Objections, Valve objects to Request No. 42 and 43
24   as overly broad in time and in scope and unduly burdensome, particularly insofar as they seek
25   production of “ALL COMMUNICATIONS or DOCUMENTS.” Valve also objects to these
26   requests insofar as they seek information beyond the United States as further described in
27   Valve’s General Objection No. 19, which is incorporated here by reference. Valve further
28   objects to these requests to the extent that many or all of the documents sought contain trade


                                                      -41-
                               Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 43 of 48



 1   secrets or confidential, business, financial, proprietary, law enforcement, or commercially
 2   sensitive information, particularly insofar as such information is sought by a potential business
 3   competitor. Valve also objects to these requests to the extent it seeks production of documents
 4   that are not relevant to the claims and defenses at issue in the captioned actions and are not
 5   proportional to the needs of the cases. Valve objects to this request to the extent it calls for user-
 6   specific information, infringes on users’ privacy or personal information and/or invades any right
 7   to privacy under any applicable state or federal law or constitutional provision. Valve objects to
 8   this request as overly broad in time and in scope and unduly burdensome as phrased, and insofar
 9   as it would require Valve to create new documents, information, or analyses that are not kept in
10   the ordinary course of business or to provide information in a form other than that kept in the
11   ordinary course of business. Based on its objections, Valve will not produce documents in
12   response to this request.
13   REQUEST FOR PRODUCTION NO. 43:
14           Any rulings, judgments, or findings of fact or law made by any federal, state, or local
15   governmental entity, either foreign or domestic, INCLUDING any U.S. or state agency, attorney
16   general’s office, or congressional committee, CONCERNING YOUR APP MARKETPLACE(S)
17   and any allegations or suspicion of any anti-competitive conduct or behavior.
18   RESPONSE TO REQUEST FOR PRODUCTION NO. 43:
19           Subject to and in addition to General Objections, Valve objects to Request No. 42 and 43
20   as overly broad in time and in scope and unduly burdensome, particularly insofar as they seek
21   production of “ALL COMMUNICATIONS or DOCUMENTS.” Valve also objects to these
22   requests insofar as they seek information beyond the United States as further described in
23   Valve’s General Objection No. 19, which is incorporated here by reference. Valve further
24   objects to these requests to the extent that many or all of the documents sought contain trade
25   secrets or confidential, business, financial, proprietary, law enforcement, or commercially
26   sensitive information, particularly insofar as such information is sought by a potential business
27   competitor. Valve also objects to these requests to the extent it seeks production of documents
28   that are not relevant to the claims and defenses at issue in the captioned actions and are not


                                                        -42-
                                 Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 44 of 48



 1   proportional to the needs of the cases. Valve objects to this request to the extent it calls for user-
 2   specific information, infringes on users’ privacy or personal information and/or invades any right
 3   to privacy under any applicable state or federal law or constitutional provision. Valve objects to
 4   this request as overly broad in time and in scope and unduly burdensome as phrased, and insofar
 5   as it would require Valve to create new documents, information, or analyses that are not kept in
 6   the ordinary course of business or to provide information in a form other than that kept in the
 7   ordinary course of business. Based on its objections, Valve will not produce documents in
 8   response to this request.
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      Dated: December 23, 2020                              FOX ROTHSCHILD LLP
11

12                                                   By:
                                                            Jaemin Chang
13                                                          Attorneys for non-party Valve Corporation
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                                 Valve’s Response and Objection to Subpoena by Apple
     117110150.v5
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 45 of 48



 1                                             PROOF OF SERVICE
 2          I am employed in the County of San Francisco, State of California. I am over the age of
     eighteen years and not a party to this action. My business address is: Fox Rothschild LLP, 345
 3   California Street, Suite 2200, San Francisco, CA 94104-2670.
 4           On the date shown below, I served the following document(s):
 5        NON-PARTY VALVE CORPORATION’S RESPONSE AND OBJECTION TO
          SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR
 6        TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION ISSUED BY
 7        APPLE INC.

 8   on the interested party(ies) in this action as follows:

 9                                  SEE ATTACHED SERVICE LIST

10         BY EMAIL: I electronically served the above document(s) to the email address of the
            addressee(s) listed above.
11

12         I declare under penalty of perjury that the foregoing is true and correct and that I am
     employed in the office of a member of the bar of this Court at whose direction the service was
13   made. Executed on December 23, 2020 at San Francisco, California.
14

15                                                           Elisabeth Paulsen
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     117427531.v1
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 46 of 48



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     117427531.v1
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 47 of 48



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     117427531.v1
            Case 4:20-cv-05640-YGR Document 346-2 Filed 02/18/21 Page 48 of 48



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